UNITED STATES DISTRICT COURT                                                            10/20/20
SOUTHERN DISTRICT OF NEW YORK


  United States,

                   –v–
                                                                                 18-cr-224 (AJN)
  Ali Sadr Hashemi Nejad.
                                                                                     ORDER
                           Defendant.




ALISON J. NATHAN, District Judge:

       The Court has received the declarations and exhibits that the Court ordered be submitted

in its September 16, 2020 Opinion & Order, Dkt 379, along with letter requests to seal the

declarations and/or accompanying exhibits. The Court orders that any request to redact or seal

the declarations and exhibits shall be filed on the public docket, with limited proposed and

justified redactions if necessary, by October 23, 2020. Any opposition to the application to seal

shall be made by October 30, 2020, and any replies thereto shall be made by November 4, 2020.

The briefing by the leadership of the United States Attorney’s Office, which is due on October

30, 2020, shall be filed on the public docket unless the Court grants any proposed redactions.

Any such request shall be filed on the public docket, with limited proposed and justified

redactions if necessary.



       SO ORDERED.
Dated: October 20, 2020
       New York, New York   ____________________________________
                                      ALISON J. NATHAN
                                    United States District Judge
